Case 1:21-cr-00452-TFH Document 26 Filed 11/04/21 Page i1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. : Case No. 21-cr-452 (TFH)

KENNETHJOHN REDA

Defendant.

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Kenneth John Reda, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2 On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

Page | of 5
Case 1:21-cr-00452-TFH Document 26 Filed 11/04/21 Page 2of5

of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
ad vanced to the exterior facade of the building. The crowd was not lawf ully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs,

Page 2 of 5
Case 1:21-cr-00452-TFH Document 26 Filed 11/04/21 Page 3o0f5

Ps Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Reda’s Participation in the Capitol Riot of January 6, 2021

8. On or about December 19, 2020, Reda posted on his Parler account, “We have got
to get to DC on January 6th it is IMPERATIVE every single person that VOTED from Trump
has to flood DC... .” On or about December 22, 2020, Reda posted on his Parler account, “All
it is IMPERATIVE that we let our elected officials know in both the Senate and the house that
we will not be voting for them again if they do not support our President Trump on January 6th
when they are [counting] Electoral College votes... .” On or about December 27, 2020, Reda
posted on his Parler account, “It is time to organize PATRIOTS we need to get together and
organize against this KABAL we need to overthrow it....they have thrown their last ditch effort

to overthrow this election therefore this nation if we not come together and organize we will

LOSE.”

Page 3 of 5
Case 1:21-cr-00452-TFH Document 26 Filed 11/04/21 Page 4of5

9: On January 6, 2021, Reda entered the U.S. Capitol through the Rotunda Doors at
approximately 3:02 p.m. Reda walked through the Rotunda. Reda exited the U.S. Capitol
through the Rotunda Doors at approximately 3:12 p-m.

10. On or about January 6, 2021, Reda posted on his Parler account, in part, “I was
there at the steps of the Capital I got into the capital building . . . the majority wanted to get into
the Capital to let the Executive branch [] hear our voices .. . .”

ri. Reda knew at the time he entered the U.S. Capitol that he did not have permission

to enter the building. Reda paraded, demonstrated, or picketed in the U.S. Capitol.

Respectfully submitted,

CHANNINGD. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By:  /s/ Jacob R. Steiner
Jacob R. Steiner
Trial Attorney, Detailee

Page 4 of 5
Case 1:21-cr-00452-TFH Document 26 Filed 11/04/21 Page 5of5

DEFENDANT’S ACKNOWLEDGMENT

I, Kenneth Reda, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. [ do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that

could impede my ability to understand this Zz Offense fully.
, Z 7 i.
Date: SEL LZZ_5 A Zig J)

Kenneth Reda
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. |
concur in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: IO] a | Ey FM L443)

Terrence O’Sullivan
Attormey for Defendant

Page 5 of 5
